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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


WILDEARTH GUARDIANS,                 )
PHYSICIANS FOR SOCIAL RESPONSIBILITY )
                                     )
          Plaintiffs,                )
                                     )
     v.                              )                      Case No. 1:21-cv-175-RC
                                     )                      The Honorable Rudolph Contreras
DAVID BERNHARDT, et al.,             )
                                     )
          Federal Defendants.        )
                                     )


                                  JOINT STATUS REPORT


       Pursuant to the Court’s Order on February 17, 2022, Plaintiffs, Federal Defendants, and

Intervenor-Defendants jointly submit the following status report. Plaintiffs and Federal

Defendants report that they have settled this case. Pursuant to that settlement agreement,

Plaintiffs are required to move to dismiss the case with prejudice within one week of

settlement. Plaintiffs presently anticipate filing that motion by March 4, 2022. At least some

Intervenor-Defendants have indicated that they will oppose Plaintiffs’ dismissal motion.
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Respectfully submitted on this 3rd day of March 2022.


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